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                      UNITED STATED DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                            ATLANTA GEORGIA


JERRY BLASINGAME,                               .
                                                .
        Plaintiff,                              .
                                                .
                                                .
                                                . Case No. 1:19-cv-2047-SCJ
v.                                              .
                                                .
OFFICER J. GRUBBS, #6416,                       .
and CITY OF ATLANTA/                            .
ATLANTA POLICE DEPARTMENT                       .
                                                .
                                                .
        Defendants.                             .


        PROPOSED ORDER REGARDING ELECTRONIC EQUIPMENT

     Pursuant to Local Rule 83.4 for the Northern District of Georgia and by

direction of the Court, it is hereby ORDERED that Mr. Vernon R. Johnson and

Ms. Ayanna Hatchett, counsel for Plaintiff, and Mr. Steven Hnat, Plaintiff’s Jury

Consultant, IT Tech-Legal Technology Services (will provide name upon receipt)

each be allowed to bring the following equipment to Courtroom 1907 on the 19th

floor for the United States Courthouse for the purpose of presentation of evidence

or perpetuation of the record beginning Monday, August 8, 2022 and continuing

day to day thereafter until the conclusion of trial in this matter:



                                            1
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   1. Laptop computer
   2. Cellular telephone
   3. Tablet
   4. Any associated cabling or other supportive devices
   5. Flash drives, portable stands for equipment
   6. Video screens
   7. Data cards
   8. Discs
   9. Speakers
   10.Portable stands for equipment
   11.Easels


   The individual(s) seeking to enter with the equipment will be required to

produce proper identification upon entering the security station located at either

entrance to the Richard B. Russel Federal Building.

   IT IS SO ORDERED, this ______ day of August, 2022.



                                       _________________________
                                       STEVE C. JONES
                                       UNITED STATES DISTRICT JUDGE




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